Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 1 of 14 PageID #: 16




                                    IN THE
                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             TERRE HAUTE DIVISION

MATTHEW POPPLEWELL,
    Petitioner,

              v.                                  No. 2:20-cv-682-JPH-MJD

WARDEN VANIHEL,
    Respondent.


    RETURN TO ORDER TO SHOW CAUSE AND MEMORANDUM OF LAW


       Respondent, warden of Wabash Valley Correctional Facility, by counsel,

pursuant to Rule 5 of the Rules Governing Section 2254 Cases in the United States

District Courts and this Court’s order, answers the above-captioned petition for a

writ of habeas corpus and submits this return to order to show cause and

memorandum of law. Respondent respectfully requests the Court to deny the

petition with prejudice because 1) Matthew Popplewell’s petition relating to a

disciplinary action from 2016 is untimely, and 2) he has not shown the denial of any

federal right.

                                    JURISDICTION

       Popplewell is in the custody of Respondent, Frank Vanihel, warden of

Wabash Valley Correctional Facility.1 Popplewell, identified by prisoner number

950929, is serving a three-year sentence for theft, receiving stolen property, and his


1 Popplewell’s discipline was instituted at Miami Correctional Facility, but he is currently
in the custody of Warden Vanihel, who is the proper respondent. See Rule 2(a) of the Rules
Governing Section 2254 Cases; Bridges v. Chambers, 425 F.3d 1048, 1050 (7th Cir. 2005).
                                             1
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 2 of 14 PageID #: 17




earliest possible release date is January 27, 2022. Indiana Dep’t of Correction,

Offender Database, www.in.gov/apps/indcorrection/ofs/ofs (visited February 11,

2021).

         Popplewell brings the instant action under 28 U.S.C. § 2254 challenging a

prison disciplinary conviction for Class A offense 111/121, conspiracy to possess or

use a cell phone (modified from the original charge that did not include offense A-

111, conspiracy). The hearing officer sanctioned Popplewell with a written

reprimand, a 90-day change in work/housing assignment, disciplinary segregation

from May 20, 2016, to June 7, 2016 (time served), a 45-day loss of commissary

privileges, a 120-day loss of earned credit time, and a one-level demotion in credit

class (Exhibit C).

                                    EXHAUSTION

         Popplewell appears to have exhausted his available administrative appeals

with regard to the issues in his petition.

                              STATEMENT OF FACTS

         On May 14, 2016, Officer E. Callaway wrote a conduct report that charged

Popplewell with Class A offense 121, possession or usage of a cell telephone (Exhibit

A). The conduct report stated:

         On 5-13-16 I, Officer E. Callaway, was activated for E Squad to
         conduct cell searches for MCF. At approximately 2130 [9:30 p.m.], I
         entered HHU with Officer Lowe and Sergeant Comer. When we
         approached Cell 37, 438 which housed Offender Popplewell, Mathew
         950929 and Anglemeyer, Chase 233471, the door opened and Sgt.
         Comer entered first and instructed the offenders not to move and to
         turn away from the door. Officer Lowe entered second and placed
         Offender Anglemeyer into flex cuffs. I entered third and placed

                                             2
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 3 of 14 PageID #: 18




       Offender Popplewell into flex cuffs. We then escorted them to RHU
       without incident. Upon returning to HHU, we began our search of
       their cell. During the search, I found a black and blue cell phone on
       the floor under the bottom bunk wrapped in saran wrap. Neither
       offender admitted to owning the phone. End of Report.

(Exhibit A, errors in original). Exhibit A-1 has two photographs of the phone.

       The facility screened Popplewell on May 24, 2016, when it served him the

conduct report and notice of disciplinary hearing (screening report) (Exhibits A, B).

Popplewell pleaded not guilty, did not waive 24-hour notice of the hearing, and

requested a lay advocate2 (Exhibit B). Popplewell requested offender Anglemeyer

as a witness and anticipated that Anglemeyer would testify that “It was his”

(Exhibit B). As physical evidence, he requested photographs of the phone (Exhibit

B).

       After two postponements (Exhibit B-1), the hearing officer conducted the

disciplinary hearing on June 7, 2016, in case number MCF 16-05-0408 (Exhibit C).

Popplewell again pleaded not guilty to the A-121 charge of possession or use of a cell

phone, stating the phone was not his (Exhibit C). Offender Anglemeyer provided a

written statement that said, “The cell phone in cell was mine (Chase Anglemeyer’s).

I take full responsibility for it being in the cell. My bunkee did not know I had it in

the cell” (Exhibit C-1). Sgt. Comer provided a statement that said that he was

present for a shakedown conducted in HHU-437/438; that he observed Officer

Callaway grab a blue and black flip phone wrapped in cellophane, and that the

phone was located under the bottom bunk (H-437) (Exhibit C-2).


2 The administrative record does not include documentation that prison officials appointed
a lay advocate, but Popplewell does not make this an issue in his habeas petition.
                                            3
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 4 of 14 PageID #: 19




      The hearing officer found Popplewell guilty of offense A-111/A-121, adding

conspiracy to the charge of possession or use of a cell phone (Exhibit C). The

hearing officer relied on staff reports, Popplewell’s statement, and the photo of the

phone (Exhibit C). “DHB finds offender guilty of A11/121 based on conduct report

and witness statement from offender” (Exhibit C). The hearing officer sanctioned

Popplewell with a written reprimand, a 90-day change in work/housing assignment,

disciplinary segregation from May 20, 2016, to June 7, 2016 (time served), a 45-day

loss of commissary privileges, a 120-day loss of earned credit time, and a one-level

demotion in credit class (Exhibit C).

      Popplewell’s appeal to the facility head was dated June 21, 2016 (Exhibit D

at 1). It appears that Popplewell prematurely filed an appeal with the Department

of Correction (Department) final reviewing authority because the Department

informed Popplewell by letter dated June 29, 2016, that he had to file a first-level

appeal (Exhibit E-1). The Department sent a similar letter on July 7, 2016, noting

that his first-level appeal was pending before the warden (Exhibit E-2). The facility

head denied the appeal on July 27, 2016 (Exhibit E-3). Popplewell then appealed to

the final reviewing authority, who denied the appeal on December 12, 2016 (Exhibit

E-4). Popplewell then filed his habeas petition on December 23, 2020, which was

four years after the denial of his second-level appeal (Dkt. 2).

                             STANDARD OF REVIEW

      Courts may issue writs under § 2254 for violations of the Constitution, laws,

or treaties of the United States. 28 U.S.C. § 2254(a). A violation of state law,



                                           4
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 5 of 14 PageID #: 20




however, will not support issuance of a writ of habeas corpus. Swarthout v. Cooke,

562 U.S. 216, 219 (2011) (per curiam); Wilson v. Corcoran, 562 U.S. 1, 5 (2010) (per

curiam); Estelle v. McGuire, 502 U.S. 62, 67–68 (1991).

A facility must afford procedural due process to an Indiana prisoner before

depriving the prisoner of good-time credits or demoting the prisoner in credit class.

Montgomery v. Anderson, 262 F.3d 641, 644–45 (7th Cir. 2001). Under the Due

Process Clause, an offender subject to a prison disciplinary proceeding that may

result in a lengthened period of imprisonment is entitled to the following five

safeguards:

      (i)     Written notice of the charges at least 24 hours before the hearing;

      (ii)    The opportunity to be heard before an impartial decision maker;

      (iii)   The opportunity to call witnesses and to present documentary
              evidence in defense when consistent with institutional safety and
              correctional goals;

      (iv)    A written statement by the factfinder of the evidence relied upon
              and the reasons for the disciplinary action; and

      (v)     “Some evidence” to support the decision.

Superintendent v. Hill, 472 U.S. 445, 454 (1985); Wolff v. McDonnell, 418 U.S. 539,

563-567 (1974). Prisoners have no right to confrontation or cross-examination in

disciplinary proceedings, and they do not have a right to retained or appointed

counsel. Baxter v. Palmigiano, 425 U.S. 308, 315 (1976); Wolff, 418 U.S. at 567–70.

To obtain review of a claim for habeas relief, the prisoner must exhaust his state

administrative remedies, and failure to do so constitutes procedural default barring

federal habeas relief. Markham v. Clark, 978 F.2d 993, 995–96 (7th Cir. 1992); see

                                           5
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 6 of 14 PageID #: 21




also 28 U.S.C. § 2254(b)(1)(A), (c). Exhaustion requires that the prisoner must have

pressed each claim he seeks to raise in his habeas petition at each level of the

prison disciplinary process. Moffat v. Broyles, 288 F.3d 978, 981–82 (7th Cir. 2002);

Eads v. Hanks, 280 F.3d 728, 729 (7th Cir. 2002); Markham, 978 F.2d at 995–96; see

also O’Sullivan v. Boerckel, 526 U.S. 838, 842 (1999).

                            PETITIONER’S GROUNDS

      Popplewell asserts two grounds in his petition, which Respondent restates as

whether 1) prison officials violated Department policy regarding acceptance of a

witness statement from another offender admitting guilt to the offense, and violated

policy regarding chain of custody, and 2) whether sufficient evidence supported the

guilty finding. Respondent adds the issue whether Popplewell’s petition is

untimely.

                                     ANALYSIS

                                      I.
         Popplewell’s petition for writ of habeas corpus is untimely.

      Popplewell is not entitled to relief on his petition because he filed his petition

more than a year after his last disciplinary appeal was denied. While this Court is

bound by the Seventh Circuit’s precedent in Cox v. McBride, 279 F.3d 492, 494 (7th

Cir. 2002), Popplewell’s petition for a writ of habeas corpus is untimely under the

Rules Governing Section 2254 Cases. Section 2254 provides the vehicle for petitions

for a writ of habeas corpus from prison disciplinary proceedings. Walker v. O’Brien,

216 F.3d 626, 633 (7th Cir. 2000) (citations omitted). The time for filing a petition

under section 2254 is governed by 28 U.S.C. section 2244(d). Rule 3(c) of the Rules

                                           6
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 7 of 14 PageID #: 22




Governing Section 2254 Cases in the United States District Courts. Section 2244(d)

provides for a one-year period of limitation running from the latest of four accrual

dates. 28 U.S.C. § 2244(d).

      In Cox, the Seventh Circuit held that the one-year statute of limitations in

section 2244(d) did not apply to petitions challenging prison disciplinary matters.

279 F.3d at 494. Instead, the Court held that the “only limitation is the equitable

principle of laches codified in Rule 9(a) of the Rules Governing Section 2254 Cases

in the United States District Courts.” Id. But the Court remarked that “Congress

can and perhaps should amend the statute to bring petitions for habeas corpus that

challenge prison discipline under the one-year (or some other definite) limitation.”

Id.

      After Cox was decided, Rule 9(a)—upon which Cox relied—was removed. See

Rule 9 of the Rules Governing Section 2254 Cases in the United States District

Courts. Although the removal of Rule 9(a) was “intended to be stylistic” with “no

substantive change,” subsection (a) was “deleted as unnecessary in light of the

applicable one-year statute of limitations for § 2254 petitions.” Rule 9 of the Rules

Governing Section 2254 Cases in the United States District Courts advisory

committee note (2004). At the same time, Rule 3(c) was amended to “set[] out a

specific reference to 28 U.S.C. § 2244(d)” and “to put petitioners on notice that a

one-year statute of limitations applies to petitions filed under these Rules.” Rule 3

of the Rules Governing Section 2254 Cases in the United States District Courts

advisory committee note (2004).



                                           7
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 8 of 14 PageID #: 23




      As the Sixth Circuit observed, “[t]he most natural reading of the statute is

that the one-year statute of limitations, rather than the equitable principle of

laches, governs the timeliness” of petitions of writs of habeas corpus challenging

prison disciplinary convictions. Allen v. White, 185 Fed. Appx. 487, *3 (6th Cir.

2006). The Second, Fourth, Fifth, Ninth, and Tenth Circuits have reached similar

conclusions. Dulworth v. Evans, 442 F.3d 1265, 1267 (10th Cir. 2006) (collecting

cases).

      Popplewell was found guilty of offense A-111/A-121, conspiracy to possess or

use a cell phone, on June 7, 2016 (Exhibit C), and he exhausted his administrative

appeals on December 12, 2016 (Exhibit E-4). He filed his petition for habeas corpus

on December 23, 2020, just over four years after he exhausted his administrative

remedies (Dkt. 2). Because he did not petition for habeas corpus within one year of

the date his last disciplinary appeal was denied, his petition was filed too late. Rule

3(c) the Rules Governing Section 2254 Cases in the United States District Courts;

28 U.S.C. § 2244(d); (Dkt. 2). Respondent acknowledges that this Court is likely

bound by the Seventh Circuit’s precedent, but raises this argument to preserve the

issue of timeliness for appeal. Popplewell’ petition is untimely and should be denied

on that basis.

                                       II.
  Popplewell is not entitled to relief on either of his grounds to the extent
        they are based on alleged violations of Department policy.

      Popplewell in ground one alleges that the hearing officer violated

Department policy regarding acceptance of another offender’s admission of guilt,



                                           8
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 9 of 14 PageID #: 24




and in ground two he alleges prison officials violated Department policy regarding

chain of custody documentation (Dkt. 2 at 4). Popplewell is apparently referring to

the Disciplinary Code for Adult Offenders (DCAO). He is not entitled to relief on

any alleged violations of Department policy.

      The DCAO is an unpromulgated policy of the agency and thus a creature of

state law. See Ind. Code § 11-8-2-5(a)(8). Habeas relief under Section 2254 is

available only when an offender “is being held in violation of federal law or the U.S.

Constitution.” Caffey v. Butler, 802 F.3d 884, 894 (7th Cir. 2015); 28 U.S.C. §

2254(a). This means that federal habeas relief is available only for violations of

federal law—federal habeas relief is not available for violations of state law. See,

e.g., Swarthout v. Cooke, 562 U.S. at 210; Wilson, 562 U.S. at 5. Department

polices, regulations, and guidelines do not constitute federal law, and they are

instead “primarily designed to guide correctional officials in the administration of a

prison …not…to confer rights on inmates.” Sandin v. Conner, 515 U.S. 472, 481–82

(1995).

      Violations of state law do not constitute violations of due process, even if

there is a failure to adhere to a procedure required by state law. See, e.g.,

Swarthout, 562 U.S. at 221–22; Davis v. Scherer, 468 U.S. 183, 193–96 (1984);

Snowden v. Hughes, 321 U.S. 1, 11 (1944); Hebert v. Louisiana, 272 U.S. 312, 316

(1926). Moreover, state procedural requirements are not a source of federal

entitlements. See, e.g., Olim v. Wakinekona, 461 U.S. 238, 250–51 (1983); Hewitt v.




                                           9
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 10 of 14 PageID #: 25




 Helms, 459 U.S. 460, 471 (1983), abrogated in part on other grounds by Sandin v.

 Conner, 515 U.S. 472 (1995); Smith v. Shettle, 946 F.2d 1250, 1254 (7th Cir. 1991).

        Popplewell’s reliance on alleged violations of the DCAO are not cognizable

 under Section 2254 and do not form a basis for habeas relief. Estelle, 502 U.S. at

 67–68. Thus, Popplewell is not entitled to relief to the extent he relies on any

 alleged violations of Department policy.

                                      III.
                    Some evidence supported the guilty finding.

        Popplewell’s grounds also implicate whether some evidence supported the

 guilty findings (Dkt. 2 at 4). Due process requires that a prison disciplinary

 conviction be supported by “some evidence.”3 Hill, 472 U.S. at 454. This is a lenient

 standard requiring no more than a modicum of evidence—even meager proof will

 suffice so long as it points to the prisoner’s guilt. See id. at 457; McPherson v.

 McBride, 188 F.3d 784, 786 (7th Cir. 1999); see also United States v. Kizeart, 505

 F.3d 672, 675 (7th Cir. 2007) (describing “some evidence” standard of Hill as “the

 narrowest judicial review of judgments we know”). The Seventh Circuit has

 “characterized the ‘some evidence’ standard as a ‘meager threshold.’ . . . Once that

 threshold is crossed, we will not reverse.” Jones v. Cross, 637 F.3d 841, 849 (7th

 Cir. 2011) (quoting Scruggs, 485 F.3d at 941). Courts do not examine the entire

 record, weigh evidence, or assess the credibility of witnesses, but instead determine



 3Although state law requires proof by a preponderance of the evidence, see Ind. Code § 11-
 11-5-5(a), failure to adhere to that heightened state-law standard does not amount to a
 federal constitutional violation for which habeas relief may be granted, see, e.g., Swarthout
 v. Cooke, 562 U.S. 216, 219–22 (2011) (per curiam).
                                              10
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 11 of 14 PageID #: 26




 only whether the disciplinary board’s decision has some factual basis. Hill, 472 U.S.

 at 455–56; Webb v. Anderson, 224 F.3d 649, 652 (7th Cir. 2000).

       The evidence on which the disciplinary board relies must bear sufficient

 indicia of reliability. Viens v. Daniels, 871 F.2d 1328, 1335 (7th Cir. 1989). But due

 process “does not require evidence that logically precludes any conclusion but the

 one reached by the disciplinary board,” Hill, 472 U.S. at 457, so the presence of

 potentially exculpatory evidence before the board is immaterial unless it directly

 undercuts the reliability of the evidence on which the board relied, Meeks v.

 McBride, 81 F.3d 717, 719 (7th Cir. 1996); Viens, 871 F.2d at 1335. There was some

 evidence supporting the guilty finding in this case.

       At the time of the incident the Department defined offense A-111 as

 “Attempting or conspiring or aiding and abetting with another to commit any Class

 A offense” (Exhibit F at 1). The Department defined offense A-121 as

 “Unauthorized use or possession of any cellular telephone or other wireless or

 cellular communications device” (Exhibit F at 2). Here, Officer Callaway and other

 officers found a cell phone under the bottom bunk in a cell occupied by Popplewell

 and offender Anglemeyer (Exhibit A).

       At the time of the incident the DCAO defined possession as

         On one’s person, in one’s quarters, in one’s locker or under one’s physical
         control. For the purposes of these procedures, offenders are presumed to
         be responsible for any property, prohibited property or contraband that is
         located on their person, within their cell or within areas of their housing,
         work, educational or vocational assignment that are under their control.
         Areas under an offender’s control include, but are not limited to: the door
         track, window ledge, ventilation unit, plumbing and the offender’s desk,
         cabinet/locker, shelving, storage area, bed and bedding materials in

                                           11
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 12 of 14 PageID #: 27




         his/her housing assignment and the desk, cubicle, work station and locker
         in his/her work, educational or vocational assignment.

 (Exhibit G). Under the facts of the case and applicable definitions, Popplewell and

 Anglemeyer both possessed the cell phone that was “in [their] quarters,” “within

 their cell or within areas of their housing … that are under their control” (Exhibits

 A, G). See, e.g., Hamilton v. O’Leary, 976 F.2d 341, 345 (7th Cir. 1992) (holding that

 evidence showing a twenty-five percent chance of guilt constitutes “some evidence”

 under the circumstances).

       It did not matter that Anglemeyer claimed ownership of the phone (Exhibit

 C-1). The offense is possession, not ownership, of a cell phone (Exhibit F at 2). And

 because both offenders possessed the phone, the hearing officer reasonably added

 offense A-111, conspiracy, to the charge (Exhibit C). Both offenders had access to

 the phone and presumably could have used it at any time, in violation of

 Department disciplinary rules.

       The conduct report alone is sufficient evidence to support the guilty finding.

 See McPherson, 188 F.3d at 786 (conduct report “alone provides ‘some evidence’ for

 the CAB’s decision.”). Here, the conduct report along with the photos of the cell

 phone are sufficient evidence that Popplewell was guilty of conspiracy to possess or

 use a cell phone.




                                           12
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 13 of 14 PageID #: 28




                                    CONCLUSION

       The Court should deny the petition and dismiss this case because

 Popplewell’s petition is untimely, and it presents no valid basis on which the Court

 should issue a writ of habeas corpus.

                                                 Respectfully submitted,


                                                 FRANCES BARROW
                                                 Deputy Attorney General




                                         NOTICE

       Respondent hereby notifies Popplewell in the spirit of Lewis v. Faulkner,
       689 F.2d 100 (7th Cir. 1982), that you have 28 days after service of this
       motion to respond. See S.D. Ind. L.R. 7-1(c)(2). Because this motion has
       been served on you by mail, you have 31 days from the date on the
       certificate of service to file your response with the Clerk. See Fed. R. Civ.
       P. 6(d). You may move the Court for an enlargement of time. The Court
       may decide the case without your response if you fail to respond within
       the time provided. The Court may, but is not required to, allow you more
       time to respond if you make a written request. Any request for
       additional time should be made by written motion, stating both the
       original and requested deadline for the response, identify the reasons
       for the requested extension, and explain why those reasons provide good
       cause for the extension. S.D. Ind. L.R. 6-1(c).




                                            13
Case 2:20-cv-00682-JPH-MJD Document 7 Filed 02/15/21 Page 14 of 14 PageID #: 29




                           CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2021, I filed a copy of the foregoing

 electronically. I hereby certify that on February 15, 2021, I had a copy of the

 foregoing mailed, by first-class U.S. Mail, postage prepaid and properly addressed

 to the following:

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                                           14
